      Case 2:01-cv-00227-KJM-EFB Document 306 Filed 07/08/10 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                       UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   MOHAMED LASHEEN,
                                                   NO. CIV. S-01-227 LKK/JFM
12              Plaintiff,

13        v.                                               O R D E R

14   THE LOOMIS COMPANY, et al.,

15              Defendants.
                                       /
16

17        Plaintiff, an Egyptian national, brought claims against

18   defendants, including the Egyptian Embassy and other Egyptian

19   defendants, for violations of the Employee Retirement Income

20   Security Act (“ERISA”). The Ninth Circuit has remanded this case

21   to this court to determine whether the Foreign Sovereign

22   Immunities Act (“FSIA”) immunizes the Egyptian defendants

23   against plaintiff’s claims. Embassy of the Arab Republic of

24   Egypt v. Lasheen, 603 F.3d 1166 (9th Cir. 2010).

25        Although the parties have previously briefed this issue,

26   the court finds that renewed briefing is appropriate.

                                           1
     Case 2:01-cv-00227-KJM-EFB Document 306 Filed 07/08/10 Page 2 of 2




 1       For the foregoing reasons, the court ORDERS as follows:

 2       1.    Defendants SHALL file a motion for summary judgment on

 3             this issue on or before August 2, 2010.

 4       2.    Plaintiff SHALL file an opposition or statement of

 5             non-opposition to defendants’ motion on or before

 6             August 16, 2010.

 7       3.    Defendant MAY file a reply brief on or before August

 8             23, 2010.

 9       4.    Hearing on this matter is SET for August 30, 2010, at

10             10:00 a.m. in Courtroom Four.

11       IT IS SO ORDERED.

12       DATED: July 8, 2010.

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                        2
